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FORM 9A.NoticeofRelatedCaseInformation                                       Form 9A(p.1)
                                                                               March2023

                  UNITED STATESCOURTOFAPPEALS
                     FOR THEFEDERALCIRCUIT
               NOTICEOFRELATED CASEINFORMATION
         CaseNumber23-1475,-1533
   ShortCaseCaption AppleInc.v.GestureTechnologyPartners,LLC
   FilingParty/Entity AppleInc.
 Instructions:Donotduplicateinformation.Thenoticemustonlybefiledatthe
 timeoffiling thefirstCertificateofInterestor,subsequently,ifinformation
 changesduringthependencyoftheappeal. SeeFed.Cir.R.47.5(b). Attach
 additionalpagesasneeded. Thisnotice mustnotbeincluded in a motion,
 petition,relatedresponse,orbrief;pleaseonlyincludetheCertificateofInterest
 (Form 9)inthosedocuments.
1.Related orpriorcases.Providethecasetitle,casenumber,andoriginating
   tribunalforeachcase.Fed.Cir.R.47.5(b)(1).
GestureTech.Partners,LLCv.Apple,Inc.No.4:22-cv-04806(N.D.Cal.);Gesture
Tech.Partners,LLCv.LGElectronics,Inc.etal.,No.2:21-cv-19234(D.N.J.);
GestureTech.PartnersLLCv.MotorolaMobilityLLC,No.1:22-cv-03535(N.D.Il.);
GestureTech.Partners,LLCv.LenovoGrp.Ltd.etal.,No.6:21-cv-00122(W.D.
Tex.);GestureTech.Partners,LLCv.UnifiedPatents,LLC,No.23-1444(Fed.Cir.);
AppleInc.v.GestureTech.PartnersLLC,No.23-1494(Fed.Cir.).




       Additionalpagesattached
             Case: 23-1475      Document: 22   Page: 2   Filed: 07/17/2023




FORM 9A.NoticeofRelatedCaseInformation                                       Form 9A(p.2)
                                                                               March2023
2.Namesofallpartiesinvolved in thecaseslisted above. Donotduplicate
   the names ofparties. Do not relist the case information. Fed.Cir.R.
   47.5(b)(2)(A).
AppleInc.;GestureTechnologyPartners,LLC;LenovoGroupLtd.;LGElectronic
Inc.;LGElectronicsU.S.A.,Inc.;MotorolaMobilityLLC;UnitedPatents,LLC




      Additionalpagesattached
3.Namesofalllaw firms,partners,andassociatesinthecaseslistedabove.
  Donotduplicatethenamesoflaw firms,partners,andassociates. Donotrelist
  caseinformationandpartynames.Fed.Cir.R.47.5(b)(2)(B).




 4     Additionalpagesattached
Icertifythefollowinginformationandanyattachedsheetsareaccurateandcomplete
tothebestofmyknowledge.
Date:07/17/2023                    Signature: /s/MelanieL.Bostwick
                                         Name:       MelanieL.Bostwick
        Case: 23-1475   Document: 22   Page: 3   Filed: 07/17/2023

         Form 9A: Notice of Related Case Information
                         Addendum
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